Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13     PageID.2397     Page 1 of 44




                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
 State Farm Mutual Automobile Insurance Company,    )
                                                    )
                                  Plaintiff,        )
                                                    )
                      v.                            ) Case No. 12-cv-11500
                                                    )
 Physiomatrix, Inc.,                                ) Hon. John C. O’Meara
 Genex Physical Therapy, Inc.,                      )
 Kallil I. Kazan, D.C.,                             ) Magistrate Judge David R. Grand
 Naim Khanafer, D.C.,                               )
 Sami Abu Farha, M.D.,                              )
 Sami Abu Farha, M.D., P.C.,                        )
 Tete Oniang’o, M.D.,                               )
 Tete Oniang’o, M.D., P.L.L.C.,                     )
                                                    )
                                  Defendants.       )

              STATE FARM’S MOTION TO COMPEL
           COMPLIANCE WITH SUBPOENAS ISSUED TO
      NONPARTIES IYETEK, COMCAST, U.S. POSTAL SERVICE,
    WEINER & ASSOCIATES, LAW OFFICES OF MICHAEL J. MORSE
    KENNETH JACKSON, & K JACKS INVESTIGATIVE CONSULTING

        State Farm Mutual Automobile Insurance Company (“State Farm”),

 pursuant to Rules 26 and 45 Fed. R. Civ. P., moves for an order compelling:

 (1) Iyetek, L.L.C., (2) Comcast Corporation, (3) the United States Postal Service

 (4) Weiner & Associates, PLLC, (5) the Law Offices of Michael J. Morse, P.C.,

 (6) Kenneth Jackson, and (7) K Jacks Investigative Consulting, LLC, all

 non-parties to this action, to produce documents responsive to lawfully issued

 subpoenas. In support, State Farm relies on the accompanying brief and exhibits.
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13   PageID.2398   Page 2 of 44



                                       Respectfully submitted,


 Dated: August 1, 2013                 By:/s/ Ross O. Silverman

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Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13    PageID.2399     Page 3 of 44



                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
 State Farm Mutual Automobile Insurance Company,   )
                                                   )
                                  Plaintiff,       )
                                                   )
                      v.                           ) Case No. 12-cv-11500
                                                   )
 Physiomatrix, Inc.,                               ) Hon. John C. O’Meara
 Genex Physical Therapy, Inc.,                     )
 Kallil I. Kazan, D.C.,                            ) Magistrate Judge David R. Grand
 Naim Khanafer, D.C.,                              )
 Sami Abu Farha, M.D.,                             )
 Sami Abu Farha, M.D., P.C.,                       )
 Tete Oniang’o, M.D.,                              )
 Tete Oniang’o, M.D., P.L.L.C.,                    )
                                                   )
                                  Defendants.      )

                    BRIEF IN SUPPORT OF
              STATE FARM’S MOTION TO COMPEL
           COMPLIANCE WITH SUBPOENAS ISSUED TO
      NONPARTIES IYETEK, COMCAST, U.S. POSTAL SERVICE,
    WEINER & ASSOCIATES, LAW OFFICES OF MICHAEL J. MORSE
    KENNETH JACKSON, & K JACKS INVESTIGATIVE CONSULTING
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13        PageID.2400    Page 4 of 44



                    STATEMENT OF ISSUES PRESENTED

 1.    Whether crash report vendor Iyetek should be compelled to comply with
       State Farm’s February 8, 2013 subpoena in this case by producing
       documents that will identify who was purchasing traffic crash reports
       through an account established in the name of a fictitious entity, Auto
       Assurance, to illegally solicit car accident victims to treat at the defendant
       clinics, Physiomatrix and Genex.

 2.    Whether crash report vendor Iyetek should be compelled to comply with
       State Farm’s June 3, 2013 subpoena in this case by producing invoices and
       monthly statements reflecting the purchases of traffic crash reports by
       certain law firms to illegally solicit car accident victims to be represented by
       the law firms and/or to treat at the defendant clinics, Physiomatrix and
       Genex.

 3.    Whether Comcast should be compelled to comply with State Farm’s
       subpoena in this case by producing documents reflecting the registration
       information      used      to    establish    the   e-mail    account     for
       Autoassurance@comcast.net, which is the e-mail address used to establish
       accounts in the name of the fictitious entity, Auto Assurance, to buy traffic
       crash reports from three vendors to illegally solicit car accident victims to
       treat at the defendant clinics, Physiomatrix and Genex.

 4.    Whether the United States Postal Service should be compelled to comply
       with State Farm’s subpoena in this case by producing documents reflecting
       the identity of the individuals who established and had access to PO Box 414
       in Dearborn Heights, Michigan, which was used by the fictitious entity,
       Auto Assurance, in connection with its account to buy traffic crash reports
       from traffic crash report vendor DocView.

 5.    Whether Kenneth Jackson and his firm K Jacks Investigative Consulting,
       LLC, who appear to be illegally soliciting car accident victims for the
       defendant clinics, Physiomatrix and Genex, and/or certain attorneys who
       appear to have a cross-referral relationship with the defendants, should be
       compelled to comply with State Farm’s subpoenas by producing documents
       relating to their communications and relationships with the defendants,
       patients who were allegedly treated by the defendants, crash report vendors,
       certain law firms, and/or government agencies.


                                           i
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13      PageID.2401    Page 5 of 44



 6.    Whether the law firms of Michael Morse, PC and Weiner & Associates,
       which appear to have strong cross-referral relationships with the defendant
       clinics, Physiomatrix and Genex, and to illegally and unethically solicit car
       accident victims, should be compelled to comply with State Farm’s
       subpoenas by producing documents reflecting their communications and
       transactions with the defendants and/or Kenneth Jackson, their purchases of
       traffic crash reports, and their settlement demands and distributions for the
       claims at issue in this lawsuit.




                                         ii
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13    PageID.2402   Page 6 of 44



        CONTROLLING OR MOST APPROPRIATE AUTHORITIES

 Cable Communications Policy Act of 1984, 47 U.S.C. § 551(c)(2)(B) (“CCPA”)

 MCL § 500.4511

 MCL § 500.4503

 MCL § 750.410

 MCL § 750.429
 Fed. R. Civ. P. 26(b)(1)

 Fed. R. Civ. P. 45
 Michigan Rule of Professional Conduct 7.3

 Great Lakes Anesthesia, PLLC v. State Farm Mut. Auto. Ins. Co., 2011 WL
 4507417 (E.D. Mich. 2011)

 Hancock v. Dodson, 958 F.2d 1367 (6th Cir. 1992)
 In re Search Warrant¸ 173 F.3d 429 (6th Cir. 1999)

 People v. Paasche, 525 N.W.2d 914 (Mich. Ct. App. 1994)
 Sungjin Fo-Ma, Inc. v. Chainworks, Inc., 2009 WL 2022308 (E.D. Mich.2009)
 State Farm Mut. Auto. Ins. Co. v. Hawkins, 2008 WL 5383855 (E.D. Mich. 2008)

 State Farm Mut. Auto. Ins. Co. v. Hawkins, 2010 WL 2287454 (E.D. Mich. 2010)

 Zoosk Inc. v. Doe 1, 2010 WL 5115670 (N.D. Cal. 2010)




                                        iii
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13       PageID.2403    Page 7 of 44



 I.    INTRODUCTION

       State Farm seeks to recover from the defendants more than $1.9 million in

 no-fault benefits paid to clinics, Physiomatrix, Inc., and Genex Physical Therapy,

 Inc., (“the Clinics”) that submitted fraudulent claims by intentionally providing

 medically unnecessary services to individuals who were in motor vehicle accidents

 (“MVAs”). An essential component of the Defendants’ scheme involves gaining

 immediate access to a high volume of MVA victims before they go elsewhere for

 treatment, and directing them to the Clinics for medically unnecessary treatment to

 facilitate fraudulent claims.   Defendants engaged in this form of “ambulance

 chasing” primarily by: (1) using an alias of “David Maskalski” and the name of a

 fictitious insurance company “Auto Assurance,” which were necessary to enable

 them to purchase thousands of traffic accident reports (“crash reports”) from

 legitimate vendors, and to then unlawfully solicit MVA victims to treat at the

 Clinics; (2) maintaining quid pro quo cross-referral relationships with personal

 injury law firms that also purchased thousands of crash reports from vendors, and

 then unlawfully and unethically solicited the MVA victims to be represented by the

 law firms and to treat at the Clinics; and, (3) using a runner, Kenneth Jackson,

 operating under the guise of “private investigator,” to unlawfully and unethically

 solicit MVA victims to be represented by the law firms and treat at the Clinics.

       The subpoenas at issue seek information that is extremely relevant to this
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13                PageID.2404       Page 8 of 44



 critically important component of Defendants’ scheme. Indeed, in a recent case

 between State Farm and Physiomatrix, Judge Colombo of the Circuit Court for

 Wayne County captured the essence of the Defendants’ scheme, which begins with

 obtaining crash reports and soliciting MVA victims to enable the Defendants to

 exploit their unlimited no-fault benefits by generating fraudulent medical claims:

        . . . I’m appalled by what happened in this case. What we have is a
        situation involving [Redacted] and [Redacted] who were apparently
        involved in an automobile collision. And they had a treating
        physician and we know that the treating physician never referred them
        for physical therapy at Physiomatrix.        My inference is that
        Physiomatrix got a hold of the accident report in this case and
        solicited these people. And what they do is they get them to come
        into their office and they have this Dr. Tete Oniang’o there and he
        does a perfunctory examination and then starts writing prescriptions
        for physical therapy. And so, that happened and we run up a 75, 80,
        $85,000, or Physiomatrix does, physical therapy bill. I personally
        think that this is a fraud that’s going on.

 See Feb. 19, 2013 Order, Physiomatrix, Inc. v. State Farm Mut. Auto. Ins. Co., No.

 2011-006567-NF (Circuit Court of Wayne County) (attached as Ex. 1) (emphasis

 added.) Remarkably, despite overwhelming evidence to the contrary, which is

 discussed below, the Clinics have repeatedly denied that they ever used anyone’s

 services to obtain crash reports to market their services to MVA victims, or that

 they ever used the services of a marketer, solicitor, capper or drummer to procure

 patients. Exs. 2-31. This misconduct by the Defendants, lawyers, and Kenneth

 1
   Questions five and six, in Exs. 2 and 3, are examples of the Clinics’ blanket denials of using
 crash reports or the services of individuals to market or solicit accident victims. State Farm has
 at least 21 more interrogatory responses in which the Clinics make the same blanket denials.

                                                 2
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13                 PageID.2405       Page 9 of 44



 Jackson is undoubtedly a key contributor to the Defendants’ fraud scheme, as well

 as the troubling no-fault trends in Michigan. 2 The information sought by State

 Farm will establish the full scope of the illegal and unethical means through which

 the Defendants and associated non-parties have obtained crash reports and solicited

 MVA victims to facilitate fraudulent no-fault claims in Michigan.

        This brief is organized into four sections. The first summarizes Michigan’s

 laws prohibiting the solicitation of MVA victims.                 The second discusses the

 evidence obtained to date establishing that the Defendants, the lawyers, and the

 “private investigator” described herein have violated those laws with impunity to

 generate patients and clients to pursue fraudulent no-fault and personal injury

 claims. The third addresses the matters at issue in the seven related subpoenas that

 are the subject of this motion.           The fourth and final section summarizes the

 documents that each subpoenaed party should be ordered to produce.

 II.    MICHIGAN PROHIBITS SOLICITATION OF MVA VICTIMS

        The Michigan legislature and the Michigan Rules of Professional Conduct

 (“MRPC”) have attempted to protect MVA victims from lawyers and other

 opportunists who use solicitation to troll for patients and clients, seeking to profit


 2
   According to a 2011 report commissioned by the Michigan Chamber of Commerce, the average
 cost of a no-fault claim in Michigan in 2010 was more than double the second highest cost no-
 fault state (New Jersey), and over three times the average cost of no-fault claims in all other no-
 fault states. See Sharon Tennyson, Ph.D., The High Costs of Michigan’s No-Fault Auto
 Insurance: Causes and Implications for Reform, Michigan Chamber Study, 2011. Ex. 4, pp. 1-2.

                                                 3
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13            PageID.2406     Page 10 of 44



  from their misfortune. An understanding of these laws provides context for the

  evidence described herein, the information that State Farm seeks through the

  subpoenas, and the objections of the subpoenaed parties.

        Several laws and rules of professional conduct prohibit solicitation of MVA

  victims. For example, MCL § 750.410 makes it a crime for

        a person . . . or any . . . agents . . . of any such person . . . to directly
        or indirectly, individually or by agent . . . solicit a person injured as
        the result of an accident . . . for the purpose of representing that
        person in making a claim for damages or prosecuting an action . . .
        arising out of a personal injury claim . . . or to employ counsel for the
        purpose of that solicitation.

  MCL § 750.410(1). It is also a crime to “participate in, or aid or abet a violation of

  this section.” Id. Furthermore, contracts resulting from such solicitations are void.

  Id. Reflecting the seriousness of these prohibitions, this statute also imposes

  criminal liability on “any person . . . who, for any consideration and without the

  prior written permission of a patient or his or her personal representative,

  furnishes, receives, buys, offers to buy, sells, or offers to sell, directly or indirectly,

  the identity of the patient.” MCL § 750.410(2).

         Important public policy concerns underlie the solicitation prohibitions in the

  above statute. Indeed, in Woll v. Kelley, 409 Mich. 500 (1980), the Michigan

  Supreme Court rejected a constitutional challenge to MCL § 750.410 and listed the

  State’s interests in avoiding “evils associated with ‘ambulance chasing,’” including



                                              4
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13        PageID.2407     Page 11 of 44



        (1) fomenting litigation with resultant burdens on the courts and
        public purse, (2) subornation of perjury, (3) mulcting [i.e., defrauding
        or swindling] of innocent persons by judgments, upon manufactured
        causes of action and perjured testimony, and by settlements to buy
        peace, and (4) defrauding of injured persons having proper causes of
        action, but ignorant of legal rights and court procedure, by means of
        contracts which retain exorbitant percentages of recovery and illegal
        charges for court costs and expenses, and by settlements made for
        quick return of fees and against the just rights of the injured persons.

  Id. at 525-26.

        Similarly, MCL § 500.4511 makes it a crime for any person to commit, or

  conspire to commit, a fraudulent insurance act, and requires courts to notify

  appropriate licensing authorities if a practitioner is found guilty of either offense.

  MCL § 500.4511(1)-(3) A fraudulent insurance act is one in which a person

  “knowingly, and with an intent to injure, defraud, or deceive . . . [e]mploys, uses,

  or acts as a runner, capper, or steerer with the intent to falsely or fraudulently

  obtain benefits under a contract of insurance.” MCL § 500.4503.

        Michigan law also prohibits physicians from “employ[ing] any solicitor,

  capper, or drummer for the purpose of procuring patients.” MCL § 750.429.

  Furthermore, MRPC 7.3 provides that “[a] lawyer shall not solicit professional

  employment from a prospective client with whom the lawyer has no family or prior

  professional relationship when a significant motive for the lawyer’s doing so is

  pecuniary gain.” The comments to MRPC 7.3 further explain that “[t]here is a

  potential for abuse inherent in direct contact by a lawyer with a prospective client


                                            5
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13                PageID.2408      Page 12 of 44



  known to need legal services . . . . The situation is fraught with the possibility of

  undue influence, intimidation, and overreaching.” MRPC 7.3 (Comment). 3

         To swiftly identify MVA victims to solicit as patients and clients, the

  Defendants and related law firms have paid hundreds of thousands of dollars to

  buy thousands of crash reports from vendors that contract with and obtain the

  reports from government agencies. To ensure that the crash reports are used for

  legal purposes, and not by opportunists to solicit MVA victims, the report vendors

  generally limit access only to law firms and insurance businesses that explicitly

  agree to use the information for legal purposes.                 As discussed below, the

  Defendants and law firms have nevertheless used crash reports to unlawfully and

  unethically solicit MVA victims to become patients and clients to profit from their

  no-fault and personal injury claims.

  III.   EVIDENCE OF ILLEGAL SOLICITION

         This section summarizes evidence obtained to date regarding the solicitation

  activities of the defendants, the law firms of Michael Morse, PC (“the Morse

  firm”) and Weiner & Associates (“the Weiner firm”), and Kenneth Jackson

  (“Jackson”), who has a “private investigator” license, but acts as a runner to solicit

  MVA victims to make no-fault and personal injury claims. The Morse and Weiner

  3
   The Michigan legislature is also considering legislation making it a felony to buy crash reports
  within 30 days of an accident for reasons of solicitation. (See Michigan House Bill No. 4770,
  May 23, 2013; Michigan House Bill No. 4771, May 23, 2013; and Michigan House Bill No.
  4772, May 23, 2013.)

                                                 6
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13      PageID.2409   Page 13 of 44



  firms represent more than one-half of the represented patients who treated at the

  Clinics and whose claims are at issue in this suit, and Jackson appears to be a

  runner for Defendants and the law firms. The evidence discussed below was

  obtained from crash report vendors pursuant to subpoenas in this case, and various

  other sources, including sworn testimony from 20 MVA victims who treated at the

  Clinics and were solicited by the Defendants and/or the Morse or Weiner firms.

              A.    Information Obtained From Crash Report Vendors

        State Farm has obtained information from three crash report vendors, Iyetek,

  DocView and CLEMIS, which establishes that since 2009 the Defendants, and the

  Morse and Weiner firms, have paid hundreds of thousands of dollars to purchase

  thousands of crash reports, and have unlawfully and unethically used those reports

  to solicit MVA victims to treat at the Defendants’ Clinics and/or retain the law

  firms to make no-fault and personal injury claims. As set forth below, Defendants

  used a fictitious insurance company “Auto Assurance” and name, “David

  Maskalski” to fraudulently establish customer accounts with these vendors without

  which the Defendants would not have been given access to crash reports.

                    1.     Crash Report Vendor Iyetek

        State Farm served two subpoenas on Iyetek. Both are at issue in this motion.




                                          7
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13          PageID.2410    Page 14 of 44



                             a.    The February 8, 2013 Subpoena to Iyetek
        On February 8, 2013, State Farm served a subpoena on Iyetek seeking

  communications and transactions with Defendants and documentation of the

  purchases of specific crash reports for many claims at issue in this case. Ex. 5.

  Iyetek produced responsive documents, but redacted information that should have

  been produced, as it is relevant to prove that Defendants used false information to

  obtain and use crash reports from Iyetek to illegally solicit patients.

        Pursuant to the subpoena, Iyetek produced an April 30, 2012 application for

  a customer account from “Auto Assurance.” Ex. 6. It identified David Maskalski

  as the President, Manager and Contact for Auto Assurance. Id. The application

  lists the address of Auto Assurance as 15022 Michigan Avenue, Dearborn, MI, the

  phone number as 313/354-3161, and the e-mail as Autoassurance@comcast.net.

  Id. The application states that Auto Assurance was in the insurance business, had

  been in business for two years and had three employees. Id. As explained next,

  this information was false. There was no Auto Assurance, the address and phone

  number belong to defendant chiropractors Kallil Kazan and Naim Khanafer and

  their Clinics, and they provided this false information to Iyetek to unlawfully

  obtain these crash reports to solicit MVA victims for their fraud scheme.

        As a preliminary matter, there is no Auto Assurance in the insurance

  business in Michigan.      “Auto Assurance” was an assumed name for BG Car


                                             8
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13             PageID.2411      Page 15 of 44



  Rental, Inc., which was formed in 1974 and dissolved in 1994, and was in Grand

  Rapids, Michigan. Ex. 7. No other Auto Assurance entity exists in Michigan.

         Auto Assurance’s address, 15022 Michigan Avenue, Dearborn, is the

  address of other entities associated with defendants Kazan and Khanafer who own

  the defendant Clinics. Specifically, it is the registered office address of Rotana

  Holdings, LLC, an entity for which Kazan is both the registered agent and the Vice

  President, and Khanafer is a Managing Member. Exs. 8 and 9 respectively. This

  address is also used by DOCS Investments, LLC, which was formed in September

  2011 with defendant Khanafer as its President and registered agent. Ex. 10.

         Auto Assurance’s phone number, 313/354-3161, which was used in the

  Iyetek application is also associated with Kazan.4 Kazan used this as his phone

  number on the Rotana Holdings, LLC, public filings, (Ex. 8), in a State Farm

  claim, and in various advertisements.5 Exs. 12-13.

         E-mails produced by Iyetek indicate that Iyetek questioned David Maskalski

  (“Maskalski”) about the truthfulness of the Auto Assurance application, and

  allowed the account to be opened and used to purchase thousands of crash reports

  based on more lies by Maskalski. Specifically, in e-mail exchanges between


  4
   The same number was also used by the Defendants for the Auto Assurance account with
  DocView, which is another crash report vendor that is discussed below. Ex. 11.
  5
   State Farm is attempting to identify the true subscriber of the Autoassurance@comcast e-mail
  account through a subpoena served on Comcast in this case. Ex. 14. That subpoena is a subject
  of this motion to compel and is addressed at pp. 21-22 below.

                                               9
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13                 PageID.2412      Page 16 of 44



  Maskalski and Iyetek, from May 3-24, 2012, Iyetek informed Maskalski that his

  account was being reviewed because Auto Assurance had no website and only

  appeared in connection with BG Car Rental in a business entity search. Ex. 15.

  Maskalski responded that Auto Assurance had an existing relationship with

  another crash report vendor DocView (as discussed below, the DocView account

  was also obtained through fraud), that Auto Assurance expected to have a website

  within a month (that never happened), and that Maskalski’s accountant did not feel

  comfortable sending Auto Assurance’s articles of incorporation to Iyetek. Id.

  Iyetek could not understand why Maskalski would be uncomfortable sending

  public records such as articles of incorporation, but more importantly it needed to

  know what type of insurance (home, auto, health) Auto Assurance provided

  because Iyetek only authorizes accounts for law firms and insurance agents that

  have a legitimate business need for the information in the crash reports. Id.

  Finally, on May 24, 2012, Iyetek informed Maskalski that it would open a

  temporary account for Auto Assurance based upon assurances that Maskalski

  would provide corporate documents, which, it seems, he never provided.6

           With the Iyetek account opened, the Defendants (Kazan, Khanafer and the

  Clinics) exploited it aggressively. For example, Iyetek produced monthly invoices

  showing that, between May 2012 and February 2013, Auto Assurance was billed

  6
      Iyetek produced no corporate records for Auto Assurance in response to the subpoena.

                                                  10
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13         PageID.2413     Page 17 of 44



  more than $170,000 to purchase or view more than 6,600 crash reports from

  Iyetek. Ex. 16.7 At least 19 of those crash reports, and possibly many more, were

  for patients whose claims are at issue in this case. The monthly invoices were all

  sent to Auto Assurance, Attn: David Maskalski, 15022 Michigan Avenue,

  Dearborn, Michigan, which is the address associated with Kazan and Khanafer. Id.

        Based on Iyetek’s terms and conditions, Defendants would not have been

  permitted to obtain crash reports from Iyetek to solicit MVA victims had they not

  submitted false information to establish this account for Auto Assurance.

  Specifically, Iyetek’s terms and conditions include: (1) all data is provided “solely

  for [Auto Assurance’s] own internal business purposes,” (2) use of the information

  obtained from the crash report data “shall be for only legitimate business purposes”

  and use of the crash report data for “any other purpose” including for “commercial

  solicitation purposes” is strictly prohibited, (3) the crash report data would not be

  used “for marketing purposes,” and would not be resold or brokered to any third

  party, and (4) state-specific restrictions regarding access to and use of the crash

  reports would be honored. Ex. 6. Defendants violated all of these terms and

  conditions, illegally using Iyetek’s crash report data to directly solicit MVA

  victims to receive medically unnecessary treatment at the Clinics to milk their No-

  Fault benefits and inflate the value of their personal injury claims to curry favor
  7
    This exhibit shows one month of Auto Assurance’s police report purchases from Iyetek.
  Invoices for other months can be provided should the Court require them.

                                            11
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13                PageID.2414      Page 18 of 44



  with personal injury attorneys such as the Morse and Weiner firms with whom they

  had improper cross-referral relationships.8

         In responding to State Farm’s February 8, 2013 subpoena, Iyetek redacted

  (1) the VISA account number for the Auto Assurance account, and (2) the

  employer identification number for Auto Assurance. Ex. 6 at p. 2. Nor did Iyetek

  produce the cashier’s check used by Auto Assurance to buy crash reports in May

  2012. Thus, as discussed below, State Farm seeks an order compelling Iyetek to

  produce: (1) the redacted information because the holder of the VISA account will

  establish who paid for the crash reports purchased by Auto Assurance and the EIN

  will enable State Farm to determine whether it is associated with any real entity,

  and (2) the cashier’s check to identify the true purchaser.

                               b.      The June 3, 2013 Subpoena to Iyetek

         On June 3, 2013, State Farm served a second subpoena on Iyetek (Ex. 17),

  seeking all invoices or monthly statements for the purchase of crash reports by the

  Morse or Weiner firms, or the law firm of Nathan French, since 2007, which is the



  8
    In its agreement with Iyetek, Auto Assurance also agreed not to obtain or use crash report data
  in violation of the federal Drivers Privacy Protection Act, 18 USC § 2721 et seq. (“DPPA”). Ex.
  6. The DPPA applies to personal information provided by individuals to state departments of
  motor vehicles, not information provided in crash reports. However, the purposes of the DPPA
  are similar to Michigan’s anti-solicitation laws. Thus, it is noteworthy that the Supreme Court
  recently held that attorneys who use personal information from motor vehicle records to solicit
  clients could be subject to civil and criminal penalties under the DPPA. Maracich v. Spears, 133
  S. Ct. 2191, 2205-08 (2013) (slip op.) (no legitimate purpose in permitting attorneys to use that
  information to “troll for clients”).

                                                 12
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13            PageID.2415      Page 19 of 44



  period of the scheme at issue.9 This information is extremely relevant based on the

  following evidence State Farm has obtained: (1) the Morse and Weiner firms

  represented more than one-half of the represented patients who treated at the

  Clinics whose claims are at issue in this case, (2) the Morse and Weiner firms have

  paid more than $135,000 to purchase more than 8,600 crash reports from

  DocView, another crash report vendor, since 2007 (Exs. 19-20) , 10 (3) many MVA

  victims testified they were solicited by the Morse and Weiner firms, including

  several whose claims are at issue in this case (see summary of this evidence at pp.

  16-19 below), (4) a solicitation flyer from the Morse firm captioned 855-Mike-

  Wins states: “WE HAVE YOUR POLICE REPORT. CALL US NOW FOR

  YOUR FREE COPY AND CONSULTATION” (Ex. 21), and (5) the Morse and

  Weiner firms refused to produce any documents responsive to State Farm’s

  subpoenas in this case, which are at issue in this motion and are discussed below,

  regarding their cross-referral relationships with the Defendants, purchases of crash

  reports to solicit MVA victims, or use of Kenneth Jackson as a runner to solicit

  patients to treat at the defendant Clinics (State Farm’s subpoenas to Jackson and

  his company are also at issue in this motion, and are discussed at pp. 27-31 below).

  9
    Based upon monthly invoices produced by DocView, Nathan French’s firm was billed over
  $400,000 to purchase more than 32,000 crash reports from 2007 through 2011. Ex. 18. Nathan
  French’s law license has been suspended twice, once in November 2008 for 45 days and in July
  2012 for 180 days.
  10
    These exhibits show one month of the Morse and Weiner firms’ crash report purchases from
  DocView. Invoices for the rest of the months can be provided should the Court require them.

                                              13
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13                 PageID.2416      Page 20 of 44



         On June 12, 2003, Iyetek objected to State Farm’s June 3, 2013 subpoena on

  the grounds that neither it nor the law firms of Morse, Weiner, or French are

  parties and the information sought (monthly invoices showing crash reports

  purchased from Iyetek by the firms) is “highly confidential and proprietary.” (Dkt.

  95.) The fact that Iyetek and the law firms are not parties is not a basis for failing

  to comply with State Farm’s subpoena, and Iyetek provides no evidence, argument,

  or authority to support its boilerplate objection that monthly invoices are “highly

  confidential and proprietary.” As discussed at pp. 34-35 below, State Farm seeks

  an order compelling Iyetek to produce these monthly invoices. 11

                        2.      Crash Report Vendor DocView 12

         Monthly invoices produced by DocView show that from February 2009 to

  April 2012, Auto Assurance, through David Maskalski, paid over $140,000 to

  purchase more than 8,000 crash reports. Ex. 2213. Importantly, these monthly

  invoices were sent to Auto Assurance, Attn: David Maskalski at either 4953

  11
     They are relevant because these law firms appear to have been engaged in illegal and unethical
  solicitation of accident victims on a continuous basis for several years, as have the Defendants
  Kazan, Khanafer and the Clinics, and there appears to be a significant quid pro quo cross–
  referral relationship between the firms and these Defendants that has been vital to the success of
  the scheme in this case. Therefore, State Farm is entitled to discover the full scope of the law
  firms’ purchase and illegal use of crash reports during the period at issue in this case, and the
  extent to which those crash reports relate to patients who treated at the Defendants’ Clinics.
  12
    State Farm’s subpoena to DocView is not at issue in this motion because DocView complied,
  but information produced by DocView is discussed because it is relevant to other subpoenas that
  are at issue.
  13
     This exhibit shows one month of Auto Assurance’s crash report purchases from DocView.
  Invoices for the rest of the months can be provided should the Court require them.

                                                 14
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13              PageID.2417     Page 21 of 44



  Schaefer Rd. in Dearborn, Michigan, or PO Box 414 in Dearborn Heights,

  Michigan. 14 Id. These addresses are important because 4953 Schaefer Rd. is the

  address for defendant Genex, and PO Box 414 was the mailing address for a

  chiropractic clinic for which defendant Kazan is the registered agent and President.

  Ex. 24. The phone number for Auto Assurance’s DocView account, 313/354-

  4161, is the same number they used for the Iyetek account, which, as explained

  above, is a phone number frequently used by the Defendants.

           Furthermore, David Maskalski and Auto Assurance used their existing

  relationship with DocView—albeit fraudulently obtained—to convince Iyetek to

  allow them to open an account and gain access to Iyetek’s crash reports.

                         3.     Crash Report Vendor CLEMIS15

           CLEMIS is a division of Oakland County’s IT Department. To obtain

  access to crash reports on line through CLEMIS, users must click the “Agree” box

  representing that they will comply with all federal, state and local laws, including

  provisions of the Michigan Vehicle Code. Ex. 25. CLEMIS informed State Farm

  that it could not identify the specific purchases of crash reports made by any user,

  but it was able to produce documentation of the purchase of 20 of the crash reports

  specifically identified in State Farm’s subpoena. These documents show that the
  14
       PO Box 414 was also used by Auto Assurance and David Maskalski with Iyetek. Ex. 23.
  15
    State Farm’s subpoena to CLEMIS is not at issue because CLEMIS has complied with the
  subpoena. It is discussed because information produced by CLEMIS is relevant to other
  subpoenas that are at issue.

                                                15
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13                 PageID.2418      Page 22 of 44



  Defendants purchased crash reports for eight specific claims identified in the

  subpoena, and in each instance did so before the patients began treating at the

  Clinics. Ex. 26. Four of the reports identified in the subpoena were similarly

  bought by the Morse or Weiner firms. Id. Where Defendants purchased the

  reports, they used the e-mail address Autoassurance@comcast.net that they used to

  fraudulently obtain accounts and crash reports from Iyetek and DocView. Id.

                 B.     Sworn Testimony of Solicited MVA Victims

          State Farm also has sworn testimony from at least 20 MVA victims who

  were illegally solicited to treat at the defendant Clinics and/or be represented by

  the Morse and Weiner firms. 16 Their highlighted transcripts are attached as

  exhibits. Below is a summary of the testimony:

        Patient 1 testified that the Morse firm called after his MVA and arranged to
         meet. Ex. 27 at 39. He guessed that the Morse firm learned of the MVA
         from the ambulance service. Id. Morse referred Patient 1 to Genex. Id. at
         39-40. Patient 1’s MVA took place on 9/16/09, the Morse firm purchased
         his crash report on 9/18/09, and he began treating at Genex on 9/28/09.
        Patient 2 was represented by the Weiner firm and testified that someone she
         did not know called after her MVA, and an African-American male later
         came to her home and gave her a business card for the Weiner firm. She
         then began treating with defendants Dr. Oniang’o and Physiomatrix. Ex. 28
         at 39-40. Her lawyer from the Weiner firm instructed her not to answer any
         questions regarding the circumstances under which she retained the Weiner
         firm or was referred to Oniang’o and Physiomatrix. Id. at 39-42. Patient 2’s

  16
     The claims of Patients 3, 6, 7, 8, 9, 10, 12, 16, 17, and 18 are RICO Events 103, 111, 159, 4,
  50, 124, 87, 110, 62, and 112, respectively. The claims of Patients 1, 2, 4, 5, 19, and 20 are not
  RICO Events because they were the subject of ongoing state court litigation when this suit was
  filed or because their claims had not been filed until after State Farm filed this suit.

                                                 16
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13       PageID.2419    Page 23 of 44



        MVA took place on 6/29/10, her crash report was purchased by the Morse
        firm on 6/30/10, and she began treating at Physiomatrix on 7/1/10. The
        Weiner firm purchased her crash report on 9/3/10.
      Patient 3 was represented by the Weiner firm and testified that someone
       called her after her MVA and asked her if she wanted information about a
       place she could go for physical therapy if she had any problems. Ex. 29 at
       35. After she asked for more information, someone else called and said she
       could go to Physiomatrix and then arranged for transportation there. Id. at
       34-36. This testimony came despite earlier objections by Patient 3’s
       attorney from the Weiner firm about discussing the circumstances under
       which she was contacted after her MVA. Id. at 28-29. Patient 3’s MVA
       took place on 4/23/10, the Morse firm purchased her crash report on 4/27/10,
       and she began treating at Physiomatrix on 5/3/10. The Weiner firm
       purchased her crash report on 7/20/10.
      Patient 4 was represented by the Weiner firm and testified that a female
       called to see if he needed medical help after his MVA, and then later came
       to his home and referred him to Physiomatrix where he saw a “Dr. Kayzon
       or Kilamon” (likely defendant Kallil Kazan). Ex. 30 at 47-50. Patient 4 did
       not know how the caller got his name or number. Id. at 49. Patient 4’s
       MVA was on 1/31/10, Auto Assurance purchased his crash report on 2/3/10,
       and he began treatment at Physiomatrix on 2/5/10.
      Patients 5 and 6, brothers who were represented by the Morse firm, testified
       that a female called and came to one of their homes to meet them after the
       MVA. This female then referred them to Physiomatrix. Ex. 31 at 28-36;
       Ex. 32 at 22-26. Patients 5 and 6 had their MVA on 12/4/10, Auto
       Assurance purchased their crash report on 12/7/10, and they began treatment
       at Physiomatrix on 12/9/10.

      Patient 7 testified that someone from Physiomatrix called her after her MVA
       and offered to arrange for a doctor to come to her home to treat her if she did
       not have transportation. Ex. 33 at 17-18. The caller arranged for “Dr. O”
       (likely defendant Tete Oniang’o) to come to her house and examine her. Dr.
       O then referred her for treatment at Physiomatrix and an MRI. Id. Patient
       7’s MVA took place on 1/7/10, her crash report was purchased by Auto
       Assurance on 1/12/10, and she began treating at Physiomatrix on 1/14/10.

      Patient 8 testified that someone called her cell phone after her MVA and
       arranged for her to treat at Genex. Ex. 34 at 23. When Patient 8 received

                                          17
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13     PageID.2420    Page 24 of 44



        this call, she had not told anyone she was in an MVA and did not know why
        anyone was contacting her about it. Id. at 23-24. Patient 8’s MVA took
        place on 11/1/09, the Morse firm purchased her crash report on 11/3/09, and
        she began treating at Genex on 11/5/09.

      Patient 9 testified he received a letter from Physiomatrix after his MVA, and
       then went for treatment. Ex. 35 at 31-32. He did not seek out Physiomatrix
       and does not know how anyone at Physiomatrix found out about his MVA.
       Id. Patient 9’s MVA took place on 11/26/08, the Morse firm purchased his
       crash report on 12/1/08, and he began treatment at Physiomatrix on
       12/23/08.

      Patient 10 testified that a man from Genex called after his MVA, said he
       heard about his MVA, and offered to arrange for him to be transported to
       Genex. Ex. 36 at 24-26. Patient 10 did not know and did not ask the caller
       how he got his number. Id. Patient 10’s MVA took place on 10/29/09, the
       Morse firm purchased his crash report on 11/3/09, and he began treating at
       Genex on 11/9/09.
      Patient 11 testified that a man called after her MVA, suggested he was from
       the insurance company, and told her to go to Genex. Ex. 37 at 53-55.

      Patient 12 testified that a woman called a few days after the MVA and told
       her she might need therapy from Genex, so that is where she went for
       treatment. Ex. 38 at 29-30. Patient 12 does not know why the woman called
       her or how the woman knew she needed therapy. Id.

      Patient 13 testified that a woman called two or three days after the MVA,
       told him that she worked for the city and dealt with people who were in car
       MVAs, and said he should go to Physiomatrix to treat. Ex. 39 at 20-23.
       When Patient 13 asked how the woman found out about his MVA, the
       woman said she looked it up on public records. Id.
      Patient 14 testified a woman called a day or two after his MVA, told him she
       knew he had an MVA and that he should go to Physiomatrix. Patient 14
       does not know how the woman got his number. Ex. 40 at 25-27.

      Patient 15 testified that a few days after her MVA, a man appeared at her
       home, suggested he was from State Farm, that he was there to help Patient
       15, and that he finds new MVA cases from a computer. Ex. 41 at 9-11. He
       offered Patient 15 money to treat at Genex, and said that she could get a lot
       of money if she sued the insurance company of the driver who hit her. Id. at
                                         18
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13                PageID.2421       Page 25 of 44



         11-12. Patient 15 told the man she did not want money, and the most she
         could afford to pay Genex was $5 a month. Id. The man told Patient 15 she
         would not have to pay Genex any money because insurance would pay. Id.
         at 12. Patient 15 did not ask for treatment from Genex, but they sent
         transportation services to pick her up for treatment. Id. at 13-14. The boss
         and drivers for the transportation service gave her cash on multiple
         occasions to go to Genex, although she never asked for money. Id. at 14-16.
         They told her that this is what they do, give patients money. Id. The
         transportation company had an office at Genex, and the boss was an Arab
         male. Id. at 16-18.17

         Other MVA victims have testified that Kenneth Jackson solicited them to

  treat at the defendant Clinics. Although Jackson obtained his private investigator’s

  license in October 2010, State Farm is unaware of any evidence that he has ever

  performed any legitimate private investigator services for anyone. To the contrary,

  there is substantial evidence that, since at least 2007, he has been an active

  “runner,” “capper” or “steerer” as defined by MCL § 500.4501(h) because he

  procures clients and patients for professionals, including the defendant Clinics, and

  lawyers with whom they work, whose intent is to obtain benefits under insurance

  contracts and to assert claims against insureds and insurers for providing services

  to the clients and patients.           Indeed, Jackson’s application for his private

  investigator license includes a personal reference from attorney Marc Mendelson at

  the Morse firm, which states that Jackson began working for the Morse firm as an

  independent contractor in January 2007, and his duties included “signing up


  17
    At this time, State Farm does not have information regarding the purchase of crash reports for
  Patients 11-15.

                                                 19
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13      PageID.2422    Page 26 of 44



  clients.”   Ex. 42 at p. 3.    Another personal reference in Jackson’s license

  application file was from a Genex patient whose claim is represented by RICO

  Event 138. Ex. 42 at p. 4.

        Furthermore, State Farm has obtained sworn testimony from several

  claimants who were illegally solicited by Jackson to treat at the defendant Clinics

  and/or be represented by the Morse firm, as follows:

      Patient 16 testified that following her MVA she received a call from an
       assistant at the Morse firm, and Jackson came to her home (it is unclear from
       her testimony which happened first). Ex. 43 at 13-14. Jackson then made an
       appointment for her to treat with Physiomatrix. Id. at 16-18. Patient 16’s
       MVA took place on 9/26/10, Auto Assurance purchased her crash report on
       9/27/10, and she began treating at Physiomatrix on 10/14/10.

      Patient 17 testified that Jackson called her cell phone the night of her MVA,
       and either said he was from State Farm or that State Farm had contacted him
       about her MVA. Ex. 44 at 15-16. Jackson said he knew Patient 17 had been
       in an MVA, and “they” were going to send her to physical therapy because
       she was entitled to it. Id. Jackson set an appointment for her to treat at
       Genex the next morning and arranged for a transportation company to take
       her there. Id. at 16-18. Patient 17’s MVA took place on 1/11/10, Auto
       Assurance purchased her crash report on 1/12/10, and she began treating at
       Genex on 1/14/10.
      Patient 18 testified that Jackson called his mother after his MVA. Ex. 45 at
       65-67. Patient 18 then called Jackson who came to Patient 18’s home, told
       Patient 18 he heard he had been in an MVA, and through Patient 18’s
       mother made an appointment for him to see a doctor (not the Defendants),
       and the doctor sent Patient 18 to Physiomatrix. Id. at 39 and 65-67. Jackson
       never told Patient 18 how Jackson knew he had been in an MVA. Id.
      Patient 19 testified that Jackson showed up in her hospital room after her
       MVA, gave her papers to fill out, and told her about the lawsuit she could
       file. Ex. 46 at 36-38. Jackson referred her to the Morse firm, and Marc



                                          20
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13                PageID.2423      Page 27 of 44



          Mendelson from the Morse firm later called Patient 19 while she was still in
          the hospital. Id. 18

        Patient 20 testified that Jackson called and met with her at her home after
         her MVA. Ex. 47 at 50-55. She did not know Jackson before the MVA. Id.
         A female from Physiomatrix also called Patient 20 and arranged an
         appointment for her, although she had never heard of Physiomatrix before
         her MVA. Id. Patient 20’s MVA took place on November 30, 2010, Nathan
         French’s firm purchased her crash report on December 2, 2010, and she
         began treating at Physiomatrix on December 12, 2010. The Morse firm
         purchased her crash report on December 29, 2010.

                C.      Other Evidence of Solicitation

          The limited documents produced to date by the crash report vendors show

  that Auto Assurance and/or the Morse or Weiner firms purchased at least seventy

  crash reports before the individuals began treating at the defendant Clinics. Ex. 48.

  This activity, combined with the sworn statements and other evidence discussed

  above, strongly corroborate that these crash reports were used to illegally solicit

  individuals to treat at the Clinics.

  IV.     MATTERS AT ISSUE IN THE SEVEN SUBPOENAS

          A.    Scope of Discovery Under the Federal Rules of Civil Procedure

          Rule 26(b)(1) provides that “[p]arties may obtain discovery regarding any

  nonprivileged matter that is relevant to any party’s claim or defense.” Relevancy

  is “construed broadly to encompass any matter that bears on, or that reasonably

  could lead to other matters that bear on, any issue that is or may be in the case.”

  18
    At this time, State Farm does not have information regarding the purchases of crash reports for
  Patients 18-19.

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Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13          PageID.2424     Page 28 of 44



  Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978). These broad

  standards of relevancy apply not just to party discovery but also to non-party

  subpoenas. See R. 45 Adv. Comm. Note (it is “clear that the scope of discovery

  through a subpoena is the same as that application to Rule 34 and the other

  discovery rules”). Rule 45(c)(2)(i) provides that if an objection is made to a

  subpoena, the serving party may seek an order from the issuing court compelling

  production at any time. When a person served with a lawfully-issued subpoena

  refuses to comply, the person may also be held in contempt of court. Fed. R. Civ.

  P. 45(e); Petit v. Diebold, Inc., 2010 WL 376103 at *1 (E.D. Mich. Jan. 25, 2010).

        B.     The Two Subpoenas to Crash Report Vendor Iyetek

               1.     The February 8, 2013 Subpoena to Iyetek

        This subpoena seeks communications and transactions with the Defendants

  and documentation regarding the purchase of specific crash reports relating to

  claims at issue in this case. Ex. 5. Iyetek produced responsive documents, but

  redacted information that should have been produced because it is relevant to

  prove that Defendants Kazan and Khanafer used the alias “David Maskalski” and

  fictitious insurance company Auto Assurance to fraudulently obtain and use crash

  report data from Iyetek to illegally solicit patients for the defendant Clinics.

        Specifically, in responding to this subpoena, Iyetek redacted (1) the VISA

  account number used to purchase crash reports through the Auto Assurance


                                             22
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13       PageID.2425     Page 29 of 44



  account (Ex. 6), and (2) the EIN provided in the application for the Auto

  Assurance account with Iyetek (Id.). Iyetek also did not produce a copy of the

  cashier’s check used by Auto Assurance to pay for crash reports. State Farm seeks

  an order compelling Iyetek to produce the cashier’s check and the redacted

  information because it will enable State Farm to identify the purchase of the

  cashier’s check and the account used, as well as the true owner of the VISA

  account which will, in turn, establish who paid for the crash reports purchased by

  Auto Assurance. The EIN number will enable State Farm to determine whether it

  is associated with Auto Assurance or any other real entity. There is no burden to

  Iyetek in producing this information, and State Farm is willing to accept the VISA

  account number subject to the terms of the protective order entered by this Court

  (Dkt. 106), thereby eliminating any potential confidentiality concerns.

               2.    The June 3, 2013 Subpoena to Iyetek

        Based on documents produced by DocView showing that the Weiner and

  Morse firms paid over $135,000 to buy over 8,600 crash reports, the sworn

  testimony from patients describing how they were solicited after their MVAs by

  both law firms, and the other evidence described above demonstrating the

  substantial connections between the defendant Clinics, Jackson and these law

  firms, State Farm served a second subpoena on Iyetek. Ex. 17. It seeks all




                                           23
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13       PageID.2426    Page 30 of 44



  invoices or monthly statements for the purchase of crash reports by the Morse or

  Weiner firms, or the French’s firm since 2007, the period of the scheme at issue.

        On June 12, 2003, Iyetek served a boilerplate objection to State Farm’s June

  3, 2013 subpoena on the grounds that neither it nor the law firms are parties and

  the information sought by State Farm (monthly invoices showing crash reports

  purchased from Iyetek by the firms) is purportedly “highly confidential and

  proprietary.” (Dkt. 95.) The fact that Iyetek and the law firms are not parties is

  not a basis for failing to comply with State Farm’s subpoena, and Iyetek provides

  no evidence, argument, or authority to support its boilerplate objection that

  monthly invoices are somehow “highly confidential and proprietary.” See Sungjin

  Fo-Ma, Inc. v. Chainworks, Inc., 2009 WL 2022308, at *2 (E.D. Mich. July 8,

  2009) (overruling objection that the information sought was “confidential [and]

  proprietary” without providing a “basis for sustaining these objections.”); Lowe v.

  Vadlamudi, 2012 WL 3731781 at *3 (E.D. Mich. Aug. 28, 2012) (boilerplate or

  generalized objections “are inadequate and tantamount to not making any objection

  at all”); Ritacca v. Abbott Laboratories, 203 F.R.D. 332, 335 n.4 (N.D. Ill. 2001)

  (“[B]lanket objections are patently improper”).      In short, there is absolutely

  nothing confidential or proprietary regarding the amounts paid and number of

  crash reports purchased by these firms through arm’s-length transactions over the

  period of the scheme at issue in this case.


                                            24
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13         PageID.2427     Page 31 of 44



        Accordingly, State Farm seeks an order compelling Iyetek to produce these

  monthly invoices, which are relevant because these law firms appear to have been

  engaged in illegal and unethical solicitation of MVA victims on a pervasive and

  continuous basis for several years, as have the Defendants Kazan, Khanafer and

  the Clinics, and there clearly appears to be a significant quid pro quo cross-referral

  relationship between at least the Morse and Weiner firms and these Defendants

  that has been vital to the success of the scheme in this case. Therefore, State Farm

  is entitled to discover the full scope of the law firms’ purchase and illegal use of

  crash reports during the period at issue in this case, and the extent to which those

  crash reports relate to patients who treated at the Defendants’ Clinics.

        C.     The Subpoena to Comcast

        Maskalski      and    Auto      Assurance     used     the    email     address

  Autoassurance@comcast for their accounts with all three crash report vendors,

  Iyetek, DocView, and CLEMIS. State Farm is thus attempting to identify the true

  subscribers and IP addresses for this e-mail account through the subpoena served

  on Comcast. Ex. 14. Comcast has informed State Farm that it is willing to comply

  with the subpoena, but requires a court order pursuant to the Cable

  Communications Policy Act of 1984, 47 U.S.C. § 551(c)(2)(B) (“CCPA”), before




                                            25
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13                  PageID.2428       Page 32 of 44



  it will produce the requested documents. Ex. 49. Comcast also has informed State

  Farm that it will take steps to preserve the content of emails if ordered to do so.19

         Under the CCPA, Comcast may only disclose subscribers’ personally-

  identifiable information to a third party “pursuant to a court order authorizing such

  disclosure,” and then upon notice to the customer. 47 U.S.C. § 551(c)(2)(B).

  Courts routinely enter such orders when it appears that the identity of the target e-

  mail account is relevant. See Zoosk Inc. v. Doe 1, 2010 WL 5115670 at *3 (N.D.

  Cal. Dec. 9, 2010) (granting discovery where, as here, Comcast was willing to

  produce documents but requested court order pursuant to CCPA); Warner Bros.

  Records Inc. v. Does 1-14, 555 F. Supp. 2d 1, 2 (D.D.C. 2008) (granting expedited

  discovery and ordering Verizon to produce email and account documents to reveal

  “the true identities of defendants”). In fact, Comcast provided State Farm with a

  draft order to allow discovery of the requested information. Ex. 49. The Court

  should enter such an Order.

  19
     To date, State Farm has not sought the e-mails to and from this account, but intends to do so if
  the subscriber and IP address information confirm that this account is owned or controlled by
  any of the Defendants. Accordingly, to avoid the inadvertent destruction of potentially highly
  relevant evidence, this motion seeks an order compelling Comcast to preserve e-mails into and
  from this account until further order of this Court. If the owner of the e-mail account is already a
  party to this action, State Farm expects that the notice of the Comcast subpoena which was given
  to the parties on February 8, 2003, provided the owner with adequate notice that any emails sent
  or received by autoassurance@comcast.net are relevant to the litigation, and therefore must not
  be destroyed. See Tech. Sales Assocs. v. Ohio Star Forge Co., 2009 WL 728519 *12-13 (E.D.
  Mich., March 19, 2009) (stating that “it is beyond question that a party to civil litigation has a
  duty to preserve relevant information, including [electronically stored information], when that
  party ‘has notice that the evidence is relevant to litigation or should have known that the
  evidence may be relevant to future litigation.’”) (citation omitted).

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Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13       PageID.2429   Page 33 of 44



        D.    The Subpoena to the United States Postal Service

        Because Maskalski and Auto Assurance arranged for most of the monthly

  invoices from crash report vendors Iyetek and DocView to be mailed to PO Box

  414 in Dearborn Heights, and at least one of defendant Kazan’s other chiropractic

  clinics (Great Lakes Chiropractic Clinic) used the same address, State Farm also

  issued a subpoena to the U.S. Postal Service (“USPS”) for records to determine

  who rented and had access to that PO Box. Ex. 50. USPS asserts that federal

  regulations prevent it from providing post office box rental history without a

  “judge-signed court order that complies with 39 C.F.R. § 256.6(d)(4)”. Ex. 51.

        This Court should enter such an Order to enable State Farm to determine

  whether it was the Defendants who were using PO Box 414 to fraudulently obtain

  and use crash reports from Iyetek and DocView to illegally solicit MVA victims.

        E.    The Subpoenas To Runner Kenneth Jackson and His Firm

        State Farm served separate subpoenas on Kenneth Jackson and his firm K

  Jacks Investigative Consulting LLC (collectively “Jackson”), seeking identical

  categories of documents. Exs. 52-53. The requested documents relate to Jackson’s

  communications and relationships with Defendants, patients who treated at the

  Clinics, crash report vendors regarding those patients, the Morse and Weiner firms,

  and/or licensing and law enforcement agencies.      Id.   Jackson objected to the

  subpoena served upon him individually, claiming that any responsive documents


                                          27
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13                 PageID.2430      Page 34 of 44



  are covered by the Professional Investigator-Client or Attorney-Client privileges,

  and the requests purportedly are overly broad and unduly burdensome. 20 Ex. 54.

  Jackson offers no explanation, and cites no evidence, argument, or authority in

  support of any of his objections. State Farm has requested a privilege log and an

  affidavit explaining why it would be overly burdensome for Jackson to respond to

  the subpoena. Ex. 55. Jackson has failed to provide either.

            This Court should compel Jackson to comply with the subpoenas for six

  reasons. First, his overly burdensome objections should be rejected because he has

  failed to offer a single fact to support them. See Great Lakes Anesthesia, PLLC v.

  State Farm Mut. Auto. Ins. Co., 2011 WL 4507417, at *4 (E.D. Mich. 2011)

  (Lawson, J.) (responding party “cannot rely on a mere assertion that compliance

  would be burdensome and onerous without showing the manner and extent of the

  burden and the injurious consequences of insisting upon compliance with the

  subpoena”) (quoting 9A Wright & Miller, Federal Practice & Procedure § 2463.1,

  at 507); See also Great Lakes Transp. Holding, LLC v. Yellow Cab Serv. Corp. of

  Fla., Inc., 2011 WL 2533653, at *3 (E.D. Mich. June 27, 2011) reconsideration

  den., 2011 WL 2672544 (E.D. Mich. July 8, 2011) (denying motion to quash

  because moving parties “failed to support their ‘mere assertions’ that the subpoena

  would be unduly burdensome with facts or evidence”).

  20
       Jackson’s counsel has informed State Farm that Jackson’s firm objects on the same grounds.

                                                  28
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13         PageID.2431     Page 35 of 44



        Second, Jackson’s assertions of the Private Investigator-Client and Attorney-

  Client privileges should be rejected because he has failed to comply with his basic

  obligation under Rule 45 to provide a privilege log identifying which privilege he

  is asserting for each withheld document, and describing the nature of each withheld

  document in a manner that, without revealing information itself privileged or

  protected, will enable other parties to assess the assertions.       Fed. R. Civ. P.

  45(d)(2)(A)(i) and (ii); see also In re Search Warrant¸ 173 F.3d 429 at *2 (6th Cir.

  1999) (“[T]hose seeking to invoke the privilege must provide the reviewing court

  with enough information for it to make a determination that the document in

  question was, in fact, a confidential communication involving legal advice”); State

  Farm Mut. Auto. Ins. Co. v. Hawkins, 2008 WL 5383855 at *2 (E.D. Mich. 2008)

  (“The burden to show that a matter is not discoverable because it is privileged rests

  upon the party asserting privilege”); SPX Corp. v. Bartec, USA, LLC, 247 F.R.D.

  516, 527-28 (E.D. Mich. 2008) (rejecting privilege claims because privilege log

  was “woefully lacking in the detail necessary” for the asserting party to sustain the

  claims). Without a privilege log, it is impossible to assess his privilege assertions.

          Third, even if withheld documents were covered by either of the generally

  asserted privileges, the crime-fraud exception should apply because there is a

  reasonable basis to: (1) suspect the perpetration or attempted perpetration of a

  crime or fraud, namely violations of the laws discussed above to fraudulently


                                            29
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13              PageID.2432      Page 36 of 44



  obtain and use crash reports to illegally solicit MVA victims to treat at the

  defendant Clinics and be represented by the Morse and Weiner firms to make no-

  fault and personal injury claims, and (2) that the communications were made in

  furtherance thereof. See People v. Paasche, 525 N.W.2d 914, 917 (Mich Ct. App.

  1994); State Farm Mut. Auto. Ins. Co. v. Hawkins, 2010 WL 2287454 at *5 (E.D.

  Mich. June 4, 2010).21         The first element of the exception only requires a

  reasonable basis to suspect fraud. This standard is therefore a low one because it

  requires only a “basis to suspect rather than a basis to believe.” Hawkins, 2010

  WL 2287454 at *5. The evidence described above, combined with the Clinics’

  denials that they ever obtained or used crash reports or marketers to solicit MVA

  victims, surely meets this standard.

          Fourth, Jackson obtained his private investigator’s license in October 2010

  (Ex. 42 at 1), and according to his license application, began working and “signing

  up clients” for the Morse firm as an independent contractor in January 2007. Id. at

  3. Therefore, the Private Investigator-Client privilege could not possibly apply to

  any of his communications before October 2010, and he has no basis to assert it for

  the period 2007 through September 2010, which is within the period of the

  Defendants’ scheme and the period covered by State Farm’s subpoenas.


  21
     The crime fraud exception applies even where the professional is unaware that the
  communication or activities are in furtherance of a crime or fraud. See Paasche, 525 N.W.2d at
  918, n. 6; Hawkins, 2010 WL 2287454 at *5.

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Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13         PageID.2433    Page 37 of 44



        Fifth, the Private Investigator-Client privilege is not applicable to this case

  because it is brought under the federal RICO statute and the general rule is that

  federal common law governs privileges in federal question cases. See Fed. R.

  Evid. 501 (1974 Advisory Comm. Notes state that in federal question civil cases

  federally-evolved rules on privilege apply since federal policy is being enforced,

  and in diversity cases if conflicting bodies of privilege law apply to same evidence,

  rule favoring reception of the evidence should be applied); Hancock v. Dodson,

  958 F.2d 1367, 1373 (6th Cir. 1992) (rejecting application of Michigan physician-

  patient privilege in section 1983 federal question case).

        Sixth and finally, State Farm is willing to accept documents from Jackson

  subject to the terms of the protective order entered by this Court (Dkt. 106) thereby

  eliminating potential confidentiality concerns.

        F.     The Subpoenas to the Morse and Weiner Firms

        State Farm has subpoenaed the Morse and Weiner firms for the following

  documents from 2007 through the present: (1) communications with the

  Defendants about the patients who treated at the defendant Clinics and whose

  claims are at issue in this case, (2) payments to or from Defendants, including

  those relating to the patients at issue, (3) financial arrangements with the

  Defendants, (4) payments for, and agreements to purchase, police reports since

  2007, including those relating to the patients at issue, (5) payments to obtain any of


                                           31
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13               PageID.2434      Page 38 of 44



  the patients at issue as clients, (6) communications with and payments to Jackson

  since 2007, including payments to him regarding the patients at issue, (7)

  settlement demands made by their firms regarding any of these patients, and (8)

  disbursements of settlements for the claims of the patients at issue. Exs. 56-57.

         Neither the Morse nor Weiner firms have produced a single document or any

  privilege log in response to the subpoenas. Their respective objections to the

  subpoenas should be rejected for the reasons discussed below.22

                1.      Morse Firm’s Boilerplate Objections Should Be Rejected

         The Morse firm represented approximately one-third of the patients whose

  claims are at issue in this case. The overwhelming evidence of its illegal use of

  crash reports and Jackson to solicit MVA victims is set forth above.

          The Morse firm indicated that it had no documents responsive to two

  categories of requested documents, namely requests nos. 4 (reflecting financial

  arrangements with the Defendants) and 8 (payments made to obtain any of patients

  at issue as clients). Ex. 58. Beyond that, the Morse firm generally asserted that the

  subpoena seeks documents covered by “various privileges (e.g., attorney client,

  medical, investigator) and privacy laws (HIPAA) and the work product rule,” and




  22
    In addition, State Farm is willing to accept documents from the law firms subject to the terms
  of the protective order entered by this Court (Dkt. 106), thereby eliminating potential
  confidentiality concerns.

                                                32
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13          PageID.2435    Page 39 of 44



  is overly broad and unduly burdensome. Id. These objections should be rejected

  for many of the reasons discussed in regard to the Jackson subpoenas, namely:

        (1) the firm has failed to offer a single fact to support its “overly
        burdensome” objection,

        (2) the firm has not supplied a privilege log,

        (3) even if withheld documents might be covered by any of the
        generally asserted privileges, the crime-fraud exception should apply
        because there is a reasonable basis to suspect violations of the laws
        discussed above to fraudulently obtain and use crash reports to illegally
        solicit MVA victims to treat at the defendant Clinics and to be
        represented by the Morse firm and that the communications were made
        in furtherance thereof, and

        (4) to the extent the firm is asserting a private investigator-client
        privilege it does not apply to this federal RICO case, and even if did
        apply, would not apply to any communications with Jackson before
        October 2010 when Jackson obtained his private investigator license.

  Fed. R. Civ. P. 45(d)(2)(A)(i) and (ii).

               2.     Weiner Firm’s Boilerplate Objections Should Be Rejected

        The Weiner firm represented approximately 20% of the represented patients

  whose claims are at issue in this case. (Dkt. 1 ¶ 38.) The overwhelming evidence

  of its illegal use of crash reports to solicit MVA victims is set forth above.

        The Weiner firm’s response to the subpoena evolved over time, but

  concluded with it not producing any documents or a privilege log. In its initial

  response, the Weiner firm agreed to produce payments to or from Defendants

  dating back to 2007, any agreements with Jackson, and 1099s reflecting payments


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Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13                PageID.2436      Page 40 of 44



  to him.     Ex. 59.     Beyond that, it objected to producing any other requested

  documents based on HIPAA, its clients’ privacy interests, the “proprietary” nature

  of requested documents, and the attorney work product doctrine.23

         After meeting and conferring regarding these objections, State Farm offered

  to pay the reasonable costs of production and requested a privilege log to assess the

  validity of the boilerplate privileges asserted by the Weiner firm. Exs. 60-61.

  Although the Weiner firm agreed to produce several other categories of requested

  documents in these discussions, including 1099s and written agreements with

  Jackson, it ultimately refused to produce any documents without a court order.

         The Weiner firm should be compelled to produce the documents they agreed

  to produce three months ago, and its general objections should be rejected for

  many of the same reasons as the Morse firm’s objections. Furthermore, to the

  extent that there may be any HIPAA or privacy issues, this Court has entered a

  protective order (Dkt. 106) which will adequately address any such concerns.

         Accordingly, the Court should enter an order compelling the Morse and

  Weiner firms to comply with the subpoenas at issue.

  V.     CONCLUSION

         In conclusion, the Court should enter an order granting the motion and

  compelling the following:
  23
    It represented that it had no documents reflecting financial arrangements with the Defendants.
  Id.

                                                 34
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13      PageID.2437    Page 41 of 44



         (1) Iyetek (Exs. 5 and 17) should be ordered to produce: (a) unredacted
  documents identifying the credit card number(s) used by David Maskalski and
  Auto Assurance to purchase crash reports from Iyetek, and the employer
  identification number provided in Auto Assurance’s account application, (b) the
  cashier’s check(s) used by David Maskalski and Auto Assurance to pay for crash
  reports from Iyetek, and (c) all invoices or monthly statements for the purchase of
  crash reports by the Morse or Weiner firms, and the law firm of Nathan French
  since 2007 which is the period of the scheme at issue.

         (2) Comcast (Ex. 14) should be ordered to (a) produce all documents
  regarding     the     registration   information for  the    e-mail    account
  Autoassurance@comcast.net, including the names, addresses, telephone numbers,
  alternate e-mail addresses, and IP addresses used for the registration and (b)
  preserve all e-mails to and from this account.

          (3) the United States Postal Service (Ex. 50) should be ordered to produce
  all of the requested documents which relate to PO Box 414.

        (4) Kenneth Jackson and his firm K Jacks Investigative Consulting LLC
  (Exs. 52-53) should be ordered to produce all the requested documents.

         (5) the Morse and Weiner firms (Exs. 56-57) should be ordered to produce
  all the requested documents.

  Dated: August 1, 2013                     By:/s/ Ross O. Silverman

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                                          35
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13          PageID.2438   Page 42 of 44



         CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

        Pursuant to Federal Rule of Civil Procedure 37 and Local Rule 7.1, counsel

  for State Farm attempted to confer in good faith with Comcast and USPS regarding

  the issues presented in the foregoing Motion. Based on Comcast’s and USPS’s

  written objections to producing the requested records without a court order, State

  Farm filed this Motion. State Farm also had multiple phone conferences and

  written communications with counsel for Iyetek, Morse, Weiner, and Jackson, each

  of whom did not agree to the relief sought in this Motion.



                                        /s/ Ross O. Silverman
                                        Attorney for Plaintiff State Farm
Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13     PageID.2439    Page 43 of 44



                             CERTIFICATE OF SERVICE

        I hereby certify that on August 1, 2013, that a true and correct copy of the

  foregoing was served via the Court’s CM/ECF system to the following attorneys of

  record for parties in this case:

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Case 5:12-cv-11500-JCO-DRG ECF No. 110 filed 08/01/13      PageID.2440    Page 44 of 44



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        I further certify that on August 1, 2013, that a true and correct copy of the

  foregoing was served via U.S. mail to the following non-parties:

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